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                       IN THE UNITED STATES DISTRICT COURT
                      FOR THE WESTERN DISTRICT OF KENTUCKY
                               LOUISVILLE DIVISION

MARISSA PAYNE,                 )
                               )
           Plaintiff,          )
                               )
vs.                            )
                               ) Case No. 3:18-cv-00689-DJH
LIBERTY LIFE ASSURANCE COMPANY )
OF BOSTON,                     )
                               )
           Defendant.          )

                                STIPULATION OF DISMISSAL

        Come now Plaintiff, Marissa Payne (“Plaintiff”), and Defendant, Liberty Life Assurance

 Company of Boston (collectively, the “parties”), by and through their respective counsel, and

 stipulate that this cause of action be dismissed with prejudice, with each party to bear its own

 attorneys’ fees and costs. In support hereof, the parties show the Court that all matters previously

 in dispute between them have been resolved.

        WHEREFORE, the parties, by counsel, stipulate that this cause of action be dismissed

 with prejudice, with each party to bear its own attorneys’ fees and costs.

                                                      Respectfully submitted,

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                               CERTIFICATE OF SERVICE


        I hereby certify that on March 18, 2019, I electronically filed the foregoing with the Clerk
 of Court by using the CM/ECF system, which will send a notice of electronic filing to the
 following:

        Daniel E. Moriarty
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                                              /s/ Tina M. Bengs
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